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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OKLAHOMA


 1) VIDEO GAMING TECHNOLOGIES, INC.,                      )
                                                          )
                                                          )
                   Plaintiff,                             )
                                                          )
 v.                                                       )   Case No. 4:17-cv-00454-GKF-JFJ
                                                          )
 1) CASTLE HILL STUDIOS LLC                               )
    (d/b/a CASTLE HILL GAMING);                           )
 2) CASTLE HILL HOLDING LLC                               )
    (d/b/a CASTLE HILL GAMING); and                       )
 3) IRONWORKS DEVELOPMENT, LLC                            )
    (d/b/a CASTLE HILL GAMING)                            )
                                                          )
                   Defendants.                            )

                                               NOTICE OF ERRATA

              Plaintiff Video Gaming Technologies, Inc. provides notice that the slip sheet for Exhibit

      167 submitted with its Response and Brief in Opposition to Defendants’ Motion for Summary

      Judgment (Dkt. 238 and 239) contains an error. For the Court’s convenience, we hereby submit a

      corrected slip sheet for this exhibit.



      November 20, 2018                             Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I hereby certify that on November 20, 2018, I filed a copy of the foregoing via CM/ECF,

   which caused the foregoing to be served on the following counsel for Defendants:

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